Exhibit 3
COP Security System – Surveillance Camera (see Product List at end for models)

Infringement of the ‘790 patent
Claim 1               Evidence
1. An interface for   The COP Security surveillance camera has an interface for receiving data from an
receiving data from image sensor having an imaging array and a clock generator for transfer to a
an image sensor       processor system.
having an imaging
array and a clock     For example, an image capturing system of the surveillance camera has an image
generator for         sensor (e.g. 2MP, 4MP, 5MP, 8MP depending on the camera model) that includes
transfer to a         an imaging array and a clock generator. An interface system of the surveillance
processor system      camera includes a processor system that performs operations on image data (e.g.
comprising:           compression, object detection and tracking, on-camera analytics, and operations
                      to output image data on various an I/O interface e.g. 10Mbs/100Mbs Ethernet
                      depending on the camera model). The interface system includes interface circuitry
                      that receives image data from the image capturing system and transfers the
                      image data to the processor system.
a memory for          The COP Security surveillance camera has a memory for storing imaging array
storing imaging       data and clocking signals at a rate determined by the clocking signals.
array data and
clocking signals at a For example, the interface circuitry includes a buffer module that stores the image
rate determined by data that is received from the image capturing system. The buffer module has
the clocking          data, control and clock signal inputs (e.g. to receive data, control and clock
signals;              signalling output from the sensor’s I/O interface). The buffer module clocks its
                      internal and external signals at a rate that is determined by the input clock
                      signals. This enables the buffer module to store the image data at a rate that is in
                      accordance with the pixel clock domain of the image capturing system.
a signal generator    The COP Security surveillance camera has a signal generator for generating a
for generating a      signal for transmission to the processor system in response to the quantity of data
signal for            in the memory.
transmission to the
processor system in For example, the interface circuitry includes interface functionality that generates


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response to the        a signal when the buffer module has image data that is ready for transmission to
quantity of data in    the processor system. The signal indicates that the buffer module has a frame of
the memory; and        image data for the processor system.
a circuit for          The COP Security surveillance camera has a circuit for controlling the transfer of
controlling the        the data from the memory at a rate determined by the processor system.
transfer of the data
from the memory at     For example, the interface circuitry of the surveillance camera includes timing and
a rate determined      control functionality that controls the transfer of image data from the buffer
by the processor       module to the processor system. The timing and control functionality enables the
system.                image data to be transferred at a rate determined by the processor system. This
                       enables the processor system to acquire the image data at a rate that is in
                       accordance with the processor clock domain.

Product List:

Bullet Cameras:
      2MP: NM12T, NM22BP, NM52BP, NM52T, NMD12P, NMD12PL, NMD12PLA
      4MP: NM54T, NM14T
      5MP: NM25BP, NMD45P, NM55BP, NM55T, NM75BP
      8MP: NM58BMP

All-in-one Cameras:
       2MP: NZ042H, NZ102H, NZ202H, NZ202H-PT, NZ302H, NZ302H-PT
       3MP: NZ302H-300
       Stainless Steel: NZ202RST, NZ202STC, NZ302RST, YK-MP26-1A-20H

External Cameras:
      2MP: NM72T
      4MP: NM74T
      5MP: NM75T

Dome Cameras:
    2MP: ND12T, ND22BP, ND22T, ND32BP, ND32T, ND42T, NDD12P


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     3MP:   ND23BW, ND23BWP, ND43BW
     4MP:   ND14T, ND24T, ND34T, ND44T, ND54BP
     5MP:   ND25BP, ND25T, ND35BP
     8MP:   ND28BMP

Box IP Cameras:
      2MP: NA12X

References:

[1] COP Security System – Network Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=171&ot=all

[2] 2MP Bullet Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=537

[3] 2MP IR PoE IP Camera NMD12PLA
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=8605

[4] 4MP Bullet Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=585

[5] 4M IR Bullet IP Camera NM54T
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=2079

[6] 5MP Bullet Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=600

[7] 5MP POE IR IP Cameras NM25BP
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=8096

[8] 8MP IR Motorized Lens POE IP Camera NM58BMP
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=7588


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[9] 2MP All-in-one Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=1673

[10] 2M 4X Full HD Network Bullet PTZ IR Camera NZ042H
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=5780

[11] 3M 30X HD Long Range Infrared IP Camera NZ302H-300
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=5948

[12] All-in-one Stainless Steel
https://www.cop-security.com/product.php?lang=en&tb=3&cid=2204

[13] 2M 20X IR STAINLESS IP Camera NZ202RST
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=5912

[14] 2M IR External IP Camera NM72T
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=2061

[15] 4M IR External IP Camera NM74T
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=2067

[16] 5M IR External IP Camera NM75T
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=2088

[17] 2MP Dome Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=1581

[18] 2MP IR Dome PoE IP Cameras ND32BP
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=7456

[19] 3MP Dome
https://www.cop-security.com/product.php?lang=en&tb=3&cid=1587


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[20] 3MP True WDR IR Dome IP Camera ND23BW
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=2022

[21] 4MP Dome Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=1590

[22] 4MP Network IR Dome Camera ND54BP
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=2046

[23] 5MP Dome Cameras
https://www.cop-security.com/product.php?lang=en&tb=3&cid=1593

[24] 5MP IR Dome Varifocal IP Camera ND25BP
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=7119

[25] 8MP IR Motorized Lens PoE Dome IP Cameras ND28BMP
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=7528

[26] 2M Box IP Camera NA12X
https://www.cop-security.com/product_d.php?lang=en&tb=3&id=2007




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